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                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION



 UNITED STATES OF AMERICA,                                CR. 22-50013-JLV

                   Plaintiff,
                                                              ORDER
     vs.

 ELIJAH WEST,

                   Defendant.


                                INTRODUCTION

      Defendant Elijah West filed a motion to sever and a supporting brief.

(Dockets 51 & 52). The government opposed the defendant’s motion. (Docket

53). For the reasons stated in this order, defendant’s motion to sever is

granted.

                                   ANALYSIS

      On January 20, 2022, a grand jury charged defendant Elijah West in a

seven-count indictment. (Docket 1). On May 19, 2022, a superseding

indictment added an additional count and a forfeiture provision. (Docket 30).

The superseding indictment charged the defendant with the January 5, 2022,

murders of three individuals, Jamie Graham, Alma Garneaux and Michael

White Plume. Id. The superseding indictment charged three counts of first

degree murder in violation of 18 U.S.C. §§ 1111(a) and 1153, three counts of

discharge of a firearm during a crime of violence in violation of 18 U.S.C.
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§ 924(c)(l)(A)(iii) and one count of possession of a firearm and ammunition by a

prohibited person in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). Id.

      On the same day, May 19, 2022, the grand jury issued a separate

indictment against Mr. West. (CR. 22-50096 (D.S.D. 2022), Docket 1). In

this indictment, Mr. West was charged with the two counts of assault with a

dangerous weapon in violation of 18 U.S.C. §§ 113(a)(3) and 1153, two counts

of brandishing or discharging of a firearm during a crime of violence in

violation of 18 U.S.C. § 924(c)(l)(A)(iii), two counts of possession of ammunition

by a prohibited person in violation of 18 U.S.C. §§ 922(g)(1) & 924(a)(2) and one

count of assault on a federal officer in violation of 18 U.S.C. §§ 111(a) and (b).

Id. The events leading to this indictment occurred between December 6, 2021,

and December 28, 2021. Id.

      An order setting a date certain for trial of June 5, 2023, in CR. 22-50013,

was entered on March 6, 2023. (Docket 48). Five days were scheduled for

the trial. Id. at p. 2. An order setting a date certain of July 24, 2023, for trial

in CR. 22-50096, was entered on March 7, 2023. (CR. 22-50096, Docket 26).

Five days were scheduled for trial in the second case. Id. at p. 2.

      On March 23, 2023, a grand jury issued a second superseding

indictment in CR. 22-50013. (Docket 50). The second superseding

indictment effectively rolled counts I-VII of CR. 22-50096 into CR. 22-50013 as

counts VIII-XIV. Id.




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      RULE 8

      Federal Rule of Criminal Procedure 8 is the beginning point when

considering a motion for severance. United States v. Darden, 70 F.3d 1507,

1526 (8th Cir. 1995). Rule 8 provides that an “indictment . . . may charge a

defendant in separate counts with 2 or more offenses if the offenses . . . are of

the same or similar character, or are based on the same act or transaction, or

are connected with or constitute parts of a common scheme or plan.” Fed. R.

Crim. P. 8(a). Mr. West does not argue that the inclusion of counts VIII-XIV in

the second superseding indictment were improperly joined under Rule 8(a).

See Dockets 51 & 52. For purposes of this analysis, the court will presume

the counts of the second superseding indictment are properly joined under

Rule 8(a).

      RULE 14

      Federal Rule of Criminal Procedure 14 allows the court to require

separate trials “[i]f the joinder of offenses . . . or a consolidation for trial

appears to prejudice a defendant . . . .” Fed. R. Crim. P. 14(a). “Even if

charges are properly joined under Rule 8, a district court may exercise its

discretion and sever the charges if the defendant will be prejudiced by the

joinder of the two charges.” United States v. Garrett, 648 F.3d 618, 625 (8th

Cir. 2011). “Severe prejudice occurs when a defendant is deprived of an

appreciable chance for an acquittal, a chance that [he] would have had in a

severed trial . . . .” Id. at 625-26 (internal citation omitted). “[T]here is a


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strong presumption against severing properly joined counts . . . [and] [t]he

defendant bears the burden of establishing prejudice.” Id. at 626. “Prejudice

to the defendant must be both ‘real’ and ‘clear’ . . . . To satisfy the real

prejudice standard, a defendant may show . . . that the jury will be unable to

compartmentalize the evidence . . . . The defendant carries a heavy burden in

making this showing.” United States v. Payton, 636 F.3d 1027, 1037 (8th Cir.

2011) (internal quotation marks and citation omitted).

      Mr. West submits the superseding indictment focused on the January 5,

2022, use of a firearm to murder three individuals at a Manderson, South

Dakota, trailer. (Docket 52 at p. 2). He contends that based on the

investigative reports “an eye witness identified [Mr. West] as the shooter.” Id.

      In contrast, defendant points out the indictment in CR. 22-50096,

counts eight through fourteen of the second superseding indictment in CR. 22-

50013, occurred “between December 6 and December 28, 2021,” when he is

accused of shooting out the “windows of an occupied vehicle” and then

“assault[ing] a tribal officer with a motor vehicle.” Id. Again, “the reports [of]

an eye witness identified [Mr. West] as the shooter.” Id.

      The effect of adding counts VIII-XIV into a single trial with counts I-VII in

defendant’s view “is to force all 14 counts in five [trial] days and . . . prejudice[]

the defense . . . [who] would have insufficient time to fully and fairly try all

issues[.]” (Docket 51 at p. 1). Mr. West argues “the dissimilarity of three

murders to the newly added counts prejudices the defense as well.” Id. He


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submits the government’s trial strategy “deprives [him] of a Fair Trial and Due

process[] [and] prejudices the defense by merely showing propensity.” (Docket

52 at pp. 2-3).

      The government opposes defendant’s motion to sever. (Docket 53). It

submits “[a]ll charges in the second superseding indictment are alleged to have

occurred in a one-month period from December 6, 2021, and January 5,

2022.” Id. at p. 2. The government contends that “for a one-month period

preceding the January 5, 2022, triple murder with a firearm, West repeatedly

used, brandished, or discharged firearms.” Id. at p. 4. The government

asserts the forensic testing indicates the shell casings of all three shootings,

December 6, December 16 and January 5, were “fired from the same gun.” Id.

at p. 5.

      According to the government, Mr. West made statements before both

the December 16 shooting and the January 5 triple murders that “someone

. . . was coming to kill [defendant] and that West was protecting the

community from people selling drugs.” Id. The government submits these

statements “alone show[] a common scheme and plan and connect[] each of

the cases both temporally and logically.” Id. (referencing United States v.

Johnson, 462 F.3d 815, 822 (8th Cir. 2006)). In the government’s view,

during this one-month period defendant “repeatedly ramped up his violent

behavior, culminating in the murders, and he made statements that his




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actions in brandishing and discharging his firearms were done to protect

the community from drugs.” Id.

      The government submits the “initial discovery related to the non-murder

charges” was disclosed “on June 10, 2022.” Id. at p. 7. “The trial . . . can be

set for additional days, as the Court calendar permits[,]” the government

contends “[b]ut severing charges because the trial might take additional time,

based on more counts than if all charges were tried in separate trials, is no

basis to sever charges.” Id. at pp. 7-8.

      The government resists defendant’s “propensity” claim Id. at p. 8. It

submits the evidence from the separate assaults “should be admissible . . . for

their probative value, in accordance with the provisions of Fed. R. Evid.

404(b).” “Far from ‘merely showing propensity,’ ” the government contends

“each assault and firearm discharge is highly probative[.]” Id. at p. 8.

      “[G]iven the overlap of the evidence related to all charges,” the

government concludes defendant “is unable to meet his heavy burden to

demonstrate any prejudice, let alone ‘severe’ or ‘compelling’ prejudice.” Id. at

p. 9. “Nothing in the record,” the government believes “suggests this Court

cannot instruct a jury to keep separate the relevant evidence as to each

offense, just as it would in a situation involving two defendants.” Id. This

“remedy short of severance,” coupled with the defendant’s “insufficient showing

of prejudice,” in the government’s view “require[s] [Mr. West’s] motion to sever

[to] be denied.” Id. at p. 10.


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      To wait ten months to secure the second superseding indictment and

only three months before the homicides and firearms trial, leads the court to

conclude (1) the government chose to ignore the defendant’s timely request for

Fed. R. Evid. 404(b) evidence (Docket 19) after the indictment was issued and

took upon itself the role of adjudicator of what evidence should be admissible

in the homicides trial, and (2) the defendant’s argument is compelling that he

would be severely and unduly prejudiced by forcing him to go to trial on all 14

counts. Mr. West faces three mandatory life sentences if convicted of the three

first degree murder charges. It makes little sense in the court’s view to permit

the government to proceed on all 14 counts when Mr. West has been preparing

for the separate homicides trial for the past year.

      Furthermore, the court finds the assault and firearm charges in

counts VIII-XIV would constitute inadmissible Rule 404(b)(1) evidence in the

trial of counts I-VII. The assault evidence, including the assault of the

tribal law enforcement officer, run the high risk of showing Mr. West’s

propensity for violence. United States v. Stroud, 673 F.3d 854, 860 (8th

Cir. 2012). The court finds the proffered Rule 404(b) evidence, that is, the

factual allegations which supported the separate indictments, is unduly

prejudicial and is likely to confuse and mislead the jury if presented during

a single trial of all 14 counts.

      The evidence is too prejudicial under Rule 403 to be allowed under

Rule 404(b). United States v. Baker, 82 F.3d 273, 276 (8th Cir. 1996).


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Fed. R. Crim. P. 14(a) compels the court to find that severance of counts

VIII-XIV of the second superseding indictment is necessary to prevent severe

and unfair prejudice to the defendant.

      When the government secured the second superseding indictment,

the court indicated to the parties that the government’s belief only a few

more days would be required to try all 14 counts was misplaced. The order

establishing a date certain for trial of counts I-VII of the superseding

indictment was set because the parties indicated five days were necessary

and the court had only five days available. The trial cannot continue into

the following week of June 12, 2023, as the court’s calendar will not allow

the extra days. For that reason, the parties were instructed to keep the

June 5 trial date in place until the court heard defendant’s anticipated Rule

14 motion or a sua sponte order under Rule 14 was entered.

      Trial on counts I-VII will proceed as scheduled under the March 6,

2023, order. (Docket 48). Pursuant to 18 U.S.C. § 3161(h)(1)(B), the time

from this order until the conclusion of the trial of counts I-VII shall be

excluded in computing the time within which the trial of counts VIII-XIV

must commence.

                                    ORDER

      Based on the above analysis, it is

      ORDERED that defendant’s motion to sever (Docket 51) is granted.




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      IT IS FURTHER ORDERED that the trial on counts I-VII shall proceed

pursuant to a new scheduling order. 1

      IT IS FURTHER ORDERED that pursuant to 18 U.S.C. § 3161(h)(1)(B)

and in the interest of justice, the time from this order until the conclusion of

the trial of counts I-VII shall be excluded in computing the time within

which the trial of counts VIII-XIV must commence.

      Dated May 9, 2023.

                                BY THE COURT:

                                /s/ Jeffrey L. Viken
                                JEFFREY L. VIKEN
                                UNITED STATES DISTRICT JUDGE




      On the eve of the court’s planned filing of this order, defendant filed a
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motion for continuance of the trial and requested a date certain for trial.
(Docket 54).
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